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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

ANTWAN JOVAN JACKSON,

      Plaintiff,                          CASE NO. 5:19-cv-114-MCR-MJF

             v.

SERGEANT LANIER, et al.,

      Defendants.


               NOTICE OF APPEARANCE OF COUNSEL
            AND DESIGNATION OF E-MAIL ADDRESSES FOR
                PLAINTIFF ANTWAN JOVAN JACKSON

      AILEN CRUZ of GUERRA KING P.A. gives notice of her appearance as

counsel for Plaintiff Antwan Jovan Jackson, and requests that copies of all

pleadings, orders, and other filings be served upon her.

      Pursuant to Fla. R. Jud. Admin. 2.516, undersigned counsel hereby

designates the following e-mail addresses for the purpose of service of all

documents for this matter as follows:

      Primary:   acruz@guerraking.com
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                                        /s/ Ailen Cruz
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                                     Tampa, FL 33607
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                                     Attorneys for Plaintiff Antwan Jovan
                                     Jackson




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 17, 2022, I e-filed this document using

the CM/ECF system which will send notification of electronic filing to all counsel

of record.


                                     /s/ Ailen Cruz
                                     Ailen Cruz, FBN:105826




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